 Case 4:01-cr-40036-JPG         Document 206 Filed 10/16/09             Page 1 of 2       Page ID
                                          #260



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                        )
                                                 )
       Plaintiff,                                )
                                                 )
vs.                                              )       No. 01-cr-40036-004 JPG
                                                 )
DIMARCUS TARAH TABB,                             )
                                                 )
       Defendant.                                )

                               MEMORANDUM AND ORDER

       This matter comes before the Court on defendant Dimarcus Tarah Tabb’s second pro se

motion for a reduction of his criminal sentence pursuant to 18 U.S.C. § 3582(c)(2) (Doc. 204)

and motion for appointment of counsel (Doc. 205). He asks the Court to reduce his sentence

using the discretion recognized by Kimbrough v. United States, 552 U.S. 85 (2007), and

confirmed by Spears v. United States, 129 S. Ct. 840 (2009), and United States v. Knox, 573 F.3d

441 (7th Cir. 2009). Each of those cases, however, involved a direct review of a criminal

sentence that was not yet final, not a reduction pursuant to 18 U.S.C. § 3582(c)(2) after a

sentence had become final, as is the case with Tabb. Those cases do not authorize the Court to

reduce Tabb’s sentence.

       Tabb believes 18 U.S.C. § 3582(c)(2) itself authorizes the Court to exercise its

Kimbrough discretion to reduce his sentence. However, in an order dated June 9, 2009 (Doc.

201), the Court explained that 18 U.S.C. § 3582(c)(2) only authorizes a reduction where “a

defendant . . . has been sentenced to a term of imprisonment based on a sentencing range that has

subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C. 994(o).” As

that order explained, Tabb’s sentencing range had not been lowered and, as a consequence, the

Court lacked subject matter jurisdiction to reduce his sentence under 18 U.S.C. § 3582(c)(2).
 Case 4:01-cr-40036-JPG         Document 206 Filed 10/16/09            Page 2 of 2         Page ID
                                          #261



See United States v. Lawrence, 535 F.3d 631, 637-38 (7th Cir. 2008); United States v. Forman,

553 F.3d 585, 588 (7th Cir.), cert. denied, 129 S. Ct. 2817 (2009).

       For the reasons set forth in the Court’s June 9, 2009 order (Doc. 201), the Court

DISMISSES the pending motion for a reduction (Doc. 205) for lack of jurisdiction. As the

presence of counsel would not have made a difference in this result, the Court DENIES Tabb’s

motion for appointment of counsel (Doc. 205).

IT IS SO ORDERED.
DATED: October 16, 2009.

                                             s/ J. Phil Gilbert
                                             J. PHIL GILBERT
                                             U.S. DISTRICT JUDGE




                                                2
